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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 JANE DOE, et al.,
                                                 Case No. 08-cv-12719
          Plaintiffs,
                                                 HONORABLE STEPHEN J. MURPHY, III
 v.

 CIN-LAN INC., et al.,

          Defendants.
                                        /

                    MEMORANDUM ORDER REGARDING ATTORNEYS’
                FEES, EXPENSES , AND CLASS REPRESENTATIVE AWARDS

          Before the Court is Class Counsel’s motion for approval of attorneys’ fees and

 expenses and a petition for attorneys’ fees filed by Todd Hardy, counsel for named plaintiffs

 in a class action pending in a Nevada state court that was enjoined by the Court during the

 administration of this settlement.1 Class Counsel also request approval of the payment of

 $100,000 in incentive awards to the four class representatives, and the approval of the

 Class Counsel’s expenses in the amount of $166,666. The Court heard argument on the

 requests at the fairness hearing. For the reasons stated below, the Court will grant Class

 Counsel’s motion in part and will grant Hardy’s petition.

          The terms of the settlement were summarized on the record at the fairness hearing.

 The Court briefly summarizes here only those portions of the settlement agreement that

 relate to attorneys’ fees, expenses, and incentive awards for class representatives. The

 gross settlement amount is $11.3 million, a portion of which goes to pay attorneys’ fees.

 The settlement agreement distinguishes between Direct Attorneys’ Fees and Indirect


      1
    David Boertje, counsel for class members in three class actions filed in California, also
 submitted a petition for attorneys fees but later withdrew the petition after reaching an
 agreement on fees with Class Counsel.
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 Attorneys’ Fees. Direct Attorneys’ Fees in the amount of $666,666 are to be paid directly

 out of the $2 million Cash Pool. Indirect Attorneys’ Fees are to be paid by class members

 each time they redeem rent credits. Class members will remit to the Defendants each time

 they redeem rent credits 1/3 of the rent credit redeemed. Defendants will then hold the

 fees in trust until they remit the fees in the aggregate to Class Counsel at the end of each

 month. In the event fees collected each month do not exceed $125,000, Defendants are

 responsible for the difference. Class Counsel are to received no more than $2,834,000 in

 Indirect Attorneys’ Fees.

      Defendants have also agreed to pay $200,000 of Class Counsel’s litigation expenses.

 One-third of that amount was paid ten days after the Court preliminarily approved the

 settlement and certified the class, and the remaining amount will be paid within 120 days

 after the settlement becomes final.

      Class Counsel must obtain approval from the Court before collecting attorneys’ fees

 and expenses out of the common fund created by the settlement. After review of Class

 Counsel’s motion, the Court finds the request to be fair and reasonable. The total request

 in fees and expenses is $3,500,666, which is approximately 31% of the $11 million pool

 created by the settlement. This percentage is reasonable when compared to fee awards

 in similar cases. See, e.g., Moulton v. United States Steel Corp., 581 F.3d 344, 352 (6th

 Cir. 2009) (noting that an award of 30% of the recovery in a class action is reasonable on

 its face). It is also reasonable given the value of the benefit rendered to the class, the fact

 that Class Counsel was hired on a contingency fee basis, the complexity of the litigation,

 and the professional skill of counsel involved on both sides. See id. Especially notable

 was the complexity of the issues this action raised, including the joint-employer issue,

 Defendants’ counterclaim for breach of contract, and the difficulty of demonstrating that

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 Plaintiffs were employees. Class Counsel’s request is also reasonable considering the fees

 Plaintiffs would have incurred had counsel been retained on an hourly basis. As of the time

 Class Counsel filed their motion for attorneys’ fees, they had worked over 6,300 hours on

 the litigation and incurred fees totaling $2,759,597.71. Considerable more time and money

 were expended after the motion was filed in an effort to obtain final approval of the

 settlement. Class Counsel shall be awarded its full request, except as modified below with

 respect to Hardy’s award.

      Class Counsel’s request for expenses, to be paid directly by Defendants, is also

 reasonable given the expenses incurred in this action.

      Finally, the Court also finds the incentive awards for the four class representatives to

 be appropriate and reasonable. The four class representatives have been instrumental in

 bringing the litigation to a close, and they deserve to be rewarded for their efforts.

      The Court will also grant Todd Hardy’s petition for attorneys’ fees. “[W]hen a

 substantial benefit has been conferred on the class, non-lead counsel are entitled to

 reasonable compensation.” Victor v. Argent Classic Convertible Arbitrage Fund L.P., 623

 F.3d 82, 87 (2d Cir. 2010). The settlement agreement provides that “any other attorney

 asserting an entitlement to Attorneys’ Fees” may petition the Court for an award of fees and

 expenses. Hardy asks the Court to award him and his firm $111,663.75 in fees and

 $3,995.33 in expenses. Class Counsel opposes the request, contending that Hardy’s

 efforts in the Nevada litigation did not contribute to the settlement that was ultimately

 reached. But that cannot be. Defendants wanted to include the claims of the Nevada

 plaintiffs into the settlement, which undoubtedly increased the amount of the total

 settlement pool to cover the potential class members in the Nevada action. To deny




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 Hardy’s petition would leave him and his firm uncompensated for the work they performed

 in the Nevada action before it was enjoined.

      The question, then, is how much, and from where, should Hardy and his firm receive

 their fee award. It would be inappropriate to permit recovery from the portion of the

 settlement set aside for the class members. Hardy will be awarded fees from the portion

 of the settlement set aside for attorneys’ fees.

      Hardy’s request for $111,663.75 in fees and $3,995.33 in expenses is reasonable.

 This amount represents 356 hours of work on the Nevada action by Hardy and other

 attorneys in his firm at reasonable hourly rates. Hardy’s request represents only three

 percent of the total attorney fee award of $3,500,666, and just one percent of the $11

 million settlement pool. Given the complexity of the work in the Nevada action, the

 counterclaims asserted by Defendants there, and the fact that Hardy’s firm took the matter

 on a contingency basis, his request is reasonable.

      Hardy’s fees and expenses shall be paid by Class Counsel out of the monthly

 recovery they receive in Indirect Attorneys’ Fees. For each of the first twelve months Class

 Counsel receive Indirect Attorneys Fees, it shall forward to Hardy 8.33% of Hardy’s total

 fee and expense award.

      WHEREFORE, it is hereby ORDERED that Class Counsel’s motion for approval of

 attorneys’ fees, expenses, and class representative awards (docket no. 377) is GRANTED

 IN PART.

      IT IS FURTHER ORDERED that Todd Hardy’s petition for attorneys fees is

 GRANTED. Class Counsel shall distribute to Hardy his share of the attorneys’ fees and

 expenses in the manner set forth above.

      SO ORDERED.

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                            s/Stephen J. Murphy, III
                            STEPHEN J. MURPHY, III
                            United States District Judge

 Dated: July 15, 2011

 I hereby certify that a copy of the foregoing document was served upon the parties and/or
 counsel of record on July 15, 2011, by electronic and/or ordinary mail.

                            Carol Cohron
                            Case Manager




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